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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF RHODE ISLAND



 HANNA INSTRUMENTS, INC.,

   Plaintiff/Counterclaim-Defendant,

       v.                                              Civil Action No. 1:17-cv-522-WES-PAS

 BUSINESS SOFTWARE ALLIANCE and
 MICROSOFT CORPORATION,

    Defendants/Counterclaim-Plaintiffs.




                                    CONSENT JUDGMENT

        It is hereby stipulated and agreed by and between plaintiff, Hanna Instruments, Inc. and

 Defendants BSA Business Software Alliance, Inc. d/b/a BSA | The Software Alliance and

 Microsoft Corporation, and after consideration by the Court, that Judgment shall enter forthwith

 in this action as follows:

    1. All claims and counterclaims of all parties shall be dismissed without prejudice; and

    2. All parties shall bear its own costs and attorneys’ fees.



 ENTER:                                               PER ORDER:

 ____________________________                         ___________________________
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  HANNA INSTRUMENTS, INC.,                 BSA BUSINESS SOFTWARE ALLIANCE,
                                           INC. and MICROSOFT CORPORATION,

  By its attorneys,                        By their attorneys,


  /s/ Jodi-Ann McLane                      /s/ Joseph V. Cavanagh, III
  Jodi-Ann McLane, Esq.                    Joseph V. Cavanagh, III #6907
  jodi@mcmcip.com                          BLISH & CAVANAGH, LLP
  John T. McInnes, Esq.                    Commerce Center
  john@mcmcip.com                          30 Exchange Terrace
  MCINNES & MCLANE, LLP                    Providence, RI 02903
  11 Broadcommon Road, Suite 214           Tel.: (401) 831-8900
  Bristol, RI 02809                        Fax: (401) 751-7542
  Phone: (401) 223-5853                    jvc3@blishcavlaw.com
  Fax: (866) 610-0507




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 16th day of May, 2018, a true copy of the within document
 was filed electronically and it is available for viewing and downloading from the Court’s
 Electronic Case Filing System by counsel of record for all parties.


                                                     Joseph V. Cavanagh, III




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